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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 DT, INC.,

                             Plaintiff,

                        v.                                No. 24-cv-01889

 THE PARTNERSHIPS AND                                     DEMAND FOR JURY TRIAL
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE “A”,

                             Defendants.

                                             COMPLAINT

       Plaintiff                     (“Plaintiff”) by and through its undersigned counsel, hereby files

this Complaint for trademark infringement under the Lanham Act, copyright infringement under

the Copyright Act, offering for sale and selling counterfeit goods in violation of Plaintiff’s

exclusive rights, violations of the Illinois Deceptive Trade Practices Act, and civil conspiracy

against the Partnerships and Unincorporated Associations Identified in Schedule “A” (together,

“Defendants”). In support hereof, Plaintiff states as follows:

                                I.        JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., the Copyright Act, 17

U.S.C. § 101, et seq, 28 U.S.C. § 1338(a)-(b), and 28 U.S.C. § 1331. This Court has jurisdiction

over the claims in this action that arise under the laws of the State of Illinois pursuant to 28 U.S.C.

§ 1367(a) because the state law claims are so related to the federal claims that they form part of

the same case or controversy and derive from a common nucleus of operative facts.




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        2.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants, since each Defendant directly targets

business activities toward consumers in the United States, including Illinois, through their

operation of or assistance in the operation of the fully interactive, commercial internet stores

operating under the Defendant domain names and/or the Defendant Internet Stores identified in

Schedule A. Specifically, each of the Defendants directly reaches out to do business with Illinois

residents by operating or assisting in the operation of one or more commercial, interactive e-

commerce stores that sell products using counterfeit versions of Plaintiff’s federally registered

trademarks and/or sell products using or bearing infringing versions of Plaintiff’s federally

registered copyrighted works directly to Illinois consumers. In short, each Defendant is committing

tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiff

substantial injury in the State of Illinois.

                                        II.      INTRODUCTION

        3.        Plaintiff filed this action to combat online infringers and counterfeiters who trade

upon Plaintiff’s reputation and goodwill by (1) selling and/or offering for sale unauthorized and

unlicensed counterfeit and infringing products using counterfeit versions of Plaintiff’s federal

registered trademarks                         (Reg. No.              ),                      (Reg. No.

             ), and            (Reg. No.                 ) (the “              Trademarks”); and/or (2)

using Plaintiff’s copyrighted photographs (Reg. Nos.                            and               ) and

audiovisual work (Reg. No.                       ) (the “                 Works”) in connection with the

sale and advertising of the infringing products. See Exhibit 1. The Defendants created internet

stores (the “Defendant Internet Stores” or the “Stores”) by the dozens and designed them to appear

to be selling genuine copies of Plaintiff’s                     branded products when in fact the Stores




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        8.      The                Trademarks are distinctive and identify the merchandise as goods

originating from the Plaintiff. The registrations for the                Trademarks constitute prima

facie evidence of their validity and of Plaintiff’s exclusive right to use the

Trademarks pursuant to 15 U.S.C. § 1057(b). The                              Trademarks have been

continuously used and never abandoned since their first use.

        9.      Plaintiff is also the owner of three United States Copyright Registrations. The

registration information for the                 Works and copies of the corresponding images are

shown in Exhibit 1 attached hereto. Upon information and belief, the copyright registrations have

an effective date that predates the Defendants’ acts of copyright infringement.

        10.     Since their first publication, the                 Works have been used to sell the

               Products. Plaintiff’s products and their accompanying copyrighted works have been

the subject of substantial and continuous marketing and promotion by Plaintiff throughout the

United States and, due to its strong internet presence, throughout the entire world.

        11.     Among the exclusive rights granted to Plaintiff under the U.S. Copyright Act are

the exclusive rights to reproduce, distribute, and display the                 Works to the public.

        12.     Since its initial launch of the original                branded products and as of its

first uses of the              Trademarks in             and     Plaintiff’s Trademarks have been the

subject of substantial and continuous marketing and promotion by Plaintiff throughout the United

States and, due to its strong internet presence, throughout the entire world. Plaintiff has and

continues to widely promote and market its trademarks to customers and the public on Plaintiff’s

website and elsewhere. Genuine and authentic                     branded products are offered and sold

by Plaintiff directly and through reputable retailers.




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        13.     Plaintiff has expended substantial time, money, and other resources to develop,

advertise, and otherwise promote the                 Trademarks. As a result, customers recognize

that products bearing the distinctive                  Trademarks originate exclusively from the

Plaintiff.

                                         The Defendants

        14.     Defendants are individuals and entities who, upon information and belief, reside in

the People’s Republic of China or other foreign jurisdictions. Defendants conduct business

throughout the United States, including within the state of Illinois and in this Judicial District,

through the operation of fully interactive commercial websites and online commercial

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell and, on information and belief, has sold and

continues to sell infringing products to consumers within the United States, including Illinois and

in this Judicial District.

        15.     Defendants are an interrelated group of infringers and counterfeiters who create

numerous Defendant Internet Stores and design these stores to appear to be selling genuine

                Products, while they actually sell inferior imitations of Plaintiff’s

Products. Defendants also knowingly and willfully manufacture, import, distribute, offer for sale,

and sell infringing products. The Defendant Internet Stores share unique identifiers, such as

common design elements, the same or similar counterfeit products that they offer for sale, similar

counterfeit product descriptions, the same or substantially similar shopping cart platforms,

accepted payment methods, check-out methods, lack of contact information, and identically or

similarly priced counterfeit products and volume sale discounts. As such, the Defendant Internet

Stores establish a logical relationship between them and suggest that Defendants’ illegal operations




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arise out of the same transaction or occurrence. The tactics used by Defendants to conceal their

identities and the full scope of their counterfeiting operation make it virtually impossible for

Plaintiff to learn the precise scope and the exact interworking of their counterfeit network. If

Defendants provide additional credible information regarding their identities, Plaintiff will take

appropriate steps to amend the Complaint.

                    IV.     THE DEFENDANTS’ UNLAWFUL CONDUCT

       16.     The success of Plaintiff’s brand has resulted in significant infringement and

counterfeiting. Consequently, Plaintiff has identified numerous marketplace listings on e-

commerce platforms such as, but not limited to, Alibaba Group Holding Limited, Alibaba.com,

Inc., Alibaba.com US E-commerce Corp., Alibaba.com U.S. LLC, and Alibaba Group (U.S.) Inc.

(collectively, “Alibaba” and/or “AliExpress”); Amazon.com, Inc. (“Amazon”); Bonanza

Worldwide, LLC (“Bonanza”); Yiwu Cu Jia Trade Co., Ltd. (“CJ Dropshipping”); DHgate.com

Inc. (“DHgate”); eBay Inc. (“eBay”); Fruugo Ltd. (“Fruugo”); JD.com, Inc., Jingdong E-

commerce (Trade) Hong Kong Co., and Beijing Jingdong 360 Du E-commerce Ltd. (“Joybuy”);

Roadget Business Pte. Ltd. and Shein US Services LLC (“Shein”); Shopify Inc. (“Shopify”);

Walmart Inc. (“Walmart”); and ContextLogic Inc. (“Wish”), which include the Defendant Aliases

and which have been offering for sale, completing sales, and exporting illegal products to

consumers in this Judicial District and throughout the United States. Defendants have persisted in

creating the Defendant Aliases. E-commerce sales, including e-commerce internet stores like those

of Defendants, have resulted in a sharp increase in the shipment of unauthorized products into the

United States. See Exhibit 2, U.S. Customs and Border Protection, Intellectual Property Rights

Seizure Statistics, Fiscal Year 2021. According to Customs and Border Patrol’s (“CBP”) report,

over 90% of all CBP intellectual property seizures were smaller international mail and express




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shipments (as opposed to large shipping containers). Id. Approximately 60% of CBP seizures

originated from mainland China and Hong Kong. Id. Counterfeit and pirated products account for

billions of dollars in economic losses, resulting in tens of thousands of lost jobs for legitimate

businesses and broader economic losses, including lost tax revenue.

        17.     Groups of counterfeiters, such as Defendants here, are typically in communication

with each other. They regularly participate in QQ.com chat rooms and communicate through

websites such as sellerdefense.cn, kaidianyo.com, and kuajingvs.com, where they discuss tactics

for operating multiple accounts, evading detection, pending litigation, and potential new lawsuits.

        18.     Counterfeiting rings take advantage of the anonymity provided by the internet,

which allows them to evade enforcement efforts to combat counterfeiting. For example,

counterfeiters take advantage of the fact that marketplace platforms do not adequately subject new

sellers to verification and confirmation of their identities, allowing counterfeiters to “routinely use

false or inaccurate names and addresses when registering with these Internet platforms.” See

Exhibit 3, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the Internet, 41

Nw. J. Int’l. L. & Bus. 24 (2020). Additionally, “Internet commerce platforms create bureaucratic

or technical hurdles in helping brand owners to locate or identify sources of counterfeits and

counterfeiters.” Id. at 25. Therefore, with the absence of regulation, Defendants may and do garner

sales from Illinois residents by setting up and operating e-commerce internet stores that target

United States consumers using one or more aliases, offer shipping to the United States, including

Illinois, accept payment in U.S. dollars, and, on information and belief, have sold counterfeit

products to residents of Illinois.

        19.     Upon information and belief, at all times relevant hereto, the Defendants in this

action have had full knowledge of Plaintiff’s ownership of the                        trademarks and




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copyrights (“                Intellectual Property”), including its exclusive right to use and license

such intellectual property and their associated goodwill. Defendants’ Internet Stores also use the

same pictures to advertise their infringing product that Plaintiff uses on its webpage and other

online marketplaces to sell and advertise its genuine and original                  Products, sowing

further confusion among potential purchasers.

       20.      Defendants go to great lengths to conceal their identities by using multiple fictitious

names and addresses to register and operate their massive network of Defendant Internet Stores.

Other Defendant domain names often use privacy services that conceal the owners’ identity and

contact information. Upon information and belief, Defendants regularly create new websites and

online marketplace accounts on various platforms using the identities listed in Schedule A of this

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of the many common tactics used by the Defendants to conceal

their identities, the full scope and interworking of their massive counterfeiting operation, and to

avoid being shut down.

       21.      The infringing products for sale in the Defendant Internet Stores bear similarities

and indicia of being related to one another, suggesting that the infringing products were

manufactured by and come from a common source and that, upon information and belief,

Defendants are interrelated.

       22.      Upon information and belief, Defendants are an interrelated group of infringers

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell Infringing Products in the same transaction, occurrence, or series of transactions or

occurrences. Each e-commerce store operating under the Seller Aliases offers shipping to the




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United States, including Illinois, and, on information and belief, each Defendant has sold

Infringing Products in the United States and Illinois over the Internet.

        23.    Upon information and belief, Defendants deceive unknowing customers by using

the                Trademarks without authorization within the content, text, and/or metatags of

their websites and marketplace storefronts to attract various search engines on the internet looking

for websites relevant to consumer searches for Plaintiff’s                         branded products.

Additionally, upon information and belief, Defendants use other unauthorized search engine

optimization tactics and social media spamming so that the Defendant Internet Stores listings show

up at or near the top of relevant search results after others are shut down. As such, Plaintiff also

seeks to disable Defendant domain names owned by Defendants that are the means by which the

Defendants could continue to sell counterfeit products.

        24.    Defendants’ use of the                   Trademarks and Works on or in connection

with the advertising, marketing, distribution, offering for sale, and sale of the infringing products

is likely to cause and has caused confusion, mistake, and deception by and among consumers and

is irreparably harming Plaintiff.

        25.    Defendants, without authorization or license from Plaintiff, knowingly and

willfully used and continue to use the                 Trademarks and Works in connection with the

advertisement, offer for sale, and sale of the counterfeit products, through, inter alia, the internet.

The infringing products are not                  branded products of the Plaintiff. Plaintiff did not

manufacture, inspect, or package the infringing products and did not approve the infringing

products for sale or distribution. Each of the Defendants’ Internet Stores offers shipping to the

United States, including Illinois, and, on information and belief, each Defendant has sold

counterfeit products into the United States, including Illinois.




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       26.     Defendants’ use of the                 Trademarks and Works in connection with the

advertising, distribution, offer for sale, and sale of infringing products, including the sale of

infringing products into Illinois, is likely to cause and has caused confusion, mistake, and

deception by and among consumers and is irreparably harming Plaintiff.

       27.     Upon information and belief, Defendants will continue to register or acquire listings

for the purpose of selling infringing products that infringe upon the                    Intellectual

Property unless preliminarily and permanently enjoined.

                                             COUNT I

     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       28.     Plaintiff hereby realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 27.

       29.     This case concerns a trademark infringement and counterfeit action against

Defendants based on their unauthorized use in commerce of counterfeit imitations of the federally

registered                 Trademarks in connection with the sale, offering for sale, distribution,

and/or advertising of infringing goods. The                     Trademarks are distinctive marks.

Consumers have come to expect the highest quality from Plaintiff’s products provided under

Plaintiff’s Trademarks.

       30.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products in connection with

Plaintiff’s Trademarks without Plaintiff’s permission.

       31.     Plaintiff is the exclusive owner of Plaintiff’s Trademarks. Plaintiff’s United States

Registration for Plaintiff’s Trademarks (Exhibit 1) is in full force and effect. Upon information

and belief, Defendants have knowledge of Plaintiff’s rights in Plaintiff’s Trademarks and are




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willfully infringing and intentionally offering counterfeit items bearing Plaintiff’s Trademarks.

Defendants’ willful, intentional, and unauthorized use of Plaintiff’s Trademarks is likely to cause

confusion, mistake, and deception as to the origin and quality of the counterfeit goods among the

general consuming public.

       32.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       33.     Plaintiff has no adequate remedy at law, and if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its well-

known trademarks.

       34.     The injuries sustained by Plaintiff have been directly and proximately caused by

Defendants’ wrongful reproduction, use, advertisement, promotion, offer to sell, and sale of

counterfeit versions of Plaintiff’s               branded products.

                                            COUNT II

                   FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125)

       35.     Plaintiff hereby realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 34.

       36.     Defendant’s advertising, marketing, promotion, distribution, display, offering for

sale, sale, and/or otherwise dealing in counterfeit versions of Plaintiff’s products has created and

is creating a likelihood of confusion, mistake, and deception among the general public as to the

affiliation, connection, or association with Plaintiff or the origin, sponsorship, or approval of such

products.




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       37.     By manufacturing, importing, exporting, advertising, marketing, promoting,

distributing, displaying, offering for sale, selling, and/or otherwise dealing in the counterfeit

products, Defendants have actually offered and shipped goods in interstate commerce.

       38.     Likewise, by manufacturing, importing, exporting, advertising, marketing,

promoting, distributing, displaying, offering for sale, selling, and/or otherwise dealing in the

counterfeit products, Defendants have and continue to trade off the extensive goodwill of Plaintiff

to induce customers to purchase a counterfeit version of Plaintiff’s products, thereby directly

competing with Plaintiff. Such conduct has permitted and will continue to permit Defendants to

make substantial sales and profits based on the goodwill and reputation of Plaintiff, which Plaintiff

has amassed through its lengthy nationwide marketing, advertising, sales, and cumulative

consumer recognition.

       39.     Defendants knew or, by the exercise of reasonable care, should have known that

their past, current, and continuing advertising, marketing, promotion, distribution, display,

offering for sale, sale and/or otherwise dealing in the counterfeit goods has and will continue to

cause confusion and mistake or to deceive purchasers, users, and the public.

       40.     In addition, by using Plaintiff’s Trademarks in connection with the sale of

counterfeit products, Defendants create a false designation of origin and a misleading

representation of the fact as to the origin and sponsorship of the counterfeit product. By their use

of Plaintiff’s original photographs in association with the offer and sale of the counterfeit product,

Defendants seek to further confuse the relevant public as to the source or sponsorship of their

goods by Plaintiff.




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       41.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the counterfeit product to the general public is a willful violation of Section

43 of the Lanham Act, 15 U.S.C. § 1125.

       42.     As a direct and proximate result of Defendants’ aforementioned wrongful actions,

Plaintiff has been and will continue to be deprived of substantial sales of its genuine products.

       43.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its brand.



                                            COUNT III

                        COPYRIGHT INFRINGEMENT (17 U.S.C. § 501(a))

       44.     Plaintiff hereby realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 43.

       45.     Plaintiff’s Works have significant value and have been produced and created at

considerable expense. Plaintiff is the owner of each original work, and all works at issue have been

registered with the U.S. Copyright Office. See, Exhibit 1.

       46.     Plaintiff, at all relevant times, has been the holder of the pertinent exclusive rights

infringed by Defendants, as alleged hereunder, including but not limited to the copyrighted

Plaintiff’s Works, including derivative works.

       47.     Upon information and belief, Defendants had access to the works through

Plaintiff’s normal business activities. After accessing Plaintiff’s Works, Defendants wrongfully

created copies of the copyrighted Plaintiff’s Works without Plaintiff’s consent and engaged in acts

of widespread infringement through publishing and distributing the Plaintiff’s Works via online

websites and digital markets in connection with the marketing of their counterfeit




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products. Indeed, every photograph used by Defendants is virtually identical to the original

Plaintiff’s Works.

        48.     Plaintiff is informed and believes and thereon alleges that Defendants further

infringed Plaintiff’s copyrights by making or causing to be made derivative works from Plaintiff’s

Works by producing and distributing reproductions without Plaintiff’s permission.

        49.     Defendants, without the permission or consent of Plaintiff, have published online

infringing derivative works of Plaintiff’s Works. Defendants have violated Plaintiff’s exclusive

rights of reproduction and distribution. Defendants’ actions constitute an infringement of

Plaintiff’s exclusive rights protected under the Copyright Act (17 U.S.C. § 101, et seq.).

        50.     Further, as a direct result of the acts of copyright infringement, Defendants have

obtained direct and indirect profits they would not otherwise have realized but for their

infringement of the copyrighted Plaintiff’s Works. Plaintiff is entitled to disgorgement of

Defendants’ profits directly and indirectly attributable to their infringement of Plaintiff’s Works.

        51.     The foregoing acts of infringement constitute a collective enterprise of shared,

overlapping facts, and have been willful, intentional, and in disregard of and with indifference to

the rights of Plaintiff.

        52.     As a result of Defendants’ infringement of Plaintiff’s exclusive rights under its

copyrights, Plaintiff is entitled to relief pursuant to 17 U.S.C. § 504, and to recovery of its costs

and attorneys’ fees pursuant to 17 U.S.C. § 505.

        53.     The conduct of Defendants is causing and, unless enjoined and restrained by this

Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be compensated

or measured in money. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. §§ 502-503,

Plaintiff is entitled to injunctive relief prohibiting Defendants from further infringing Plaintiff’s




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copyrights and ordering that Defendants destroy all unauthorized copies. Defendants’ copies,

digital files, and other embodiments of Plaintiff’s copyrighted works from which copies can be

reproduced should be impounded and forfeited to Plaintiff as instruments of infringement, and all

infringing copies created by Defendants should be impounded and forfeited to Plaintiff, under 17

U.S.C. § 503.




                                            COUNT IV

                    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE
                       TRADE PRACTICES ACT (815 ILCS § 510/2

          54.   Plaintiff hereby realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 53.

          55.   Defendants have engaged in acts violating Illinois law including, but not limited to,

causing likelihood of confusion and/or misunderstanding as to the source of their goods, causing

a likelihood of confusion and/or misunderstanding as to an affiliation, connection, or association

with Plaintiff representing that their products have Plaintiff’s approval when they do not, and

engaging in other conduct which creates a likelihood of confusion or misunderstanding among the

public.

          56.   Defendants knew, or by the exercise of reasonable care should have known, that

their past, current, and continuing advertising, marketing, promotion, distribution, display,

offering for sale, sale and/or otherwise dealing in the counterfeit goods has and will continue to

cause confusion and mistake, or deceive purchasers, users, and the public.




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       57.     Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by this Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                            COUNT V

                                     CIVIL CONSPIRACY

       58.     Plaintiff hereby realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 57.

       59.     Plaintiff is informed and believes and thereon alleges that Defendants knowingly

and voluntarily entered into a scheme and agreement to engage in a combination of unlawful acts

and misconduct including, without limitation, a concerted and collaborated effort to maintain the

distribution, marketing, advertising, shipping, offer for sale, or sale of counterfeit products in

violation of the Illinois Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       60.     The intent, purpose, and objective of the conspiracy and the underlying

combination of unlawful acts and misconduct committed by the Defendants was to undermine

Plaintiff and its business by unfairly competing against it as described above.

       61.     The Defendants each understood and accepted the foregoing scheme and agreed to

do their respective part, to further accomplish the foregoing intent, purpose, and objective. Thus,

by entering the conspiracy, each Defendant has deliberately, willfully, and maliciously permitted,

encouraged, and/or induced all the foregoing unlawful acts and misconduct.

       62.     As a direct and proximate cause of the unlawful acts and misconduct undertaken

by each Defendant in furtherance of the conspiracy, Plaintiff has sustained, and unless each

Defendant is restrained and enjoined, will continue to sustain severe, immediate, and irreparable

harm, damage, and injury for which Plaintiff has no adequate remedy at law.




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                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       A.     That Defendants, their affiliates, officers, agents, employees, attorneys, and all

other persons acting for, with, by, through, under, or in active concert with them be temporarily

preliminary, and permanently enjoined and restrained from:

              i.      Using Plaintiff’s Trademarks in any manner in connection with the

       distribution, marketing, advertising, offering for sale, or sale of any product that is not a

       genuine product of Plaintiff, or is not authorized by Plaintiff to be sold in connection with

       Plaintiff’s Trademarks;

              ii.     Passing off, inducing, or enabling others to sell or pass off any product as a

       genuine Plaintiff’s product or any other product produced by Plaintiff that is not Plaintiff’s

       or not produced under the authority, control, or supervision of Plaintiff and approved by

       Plaintiff for sale under Plaintiff’s Trademarks and associated with or derived from

       Plaintiff’s Trademarks;

              iii.    Making, using, selling, and/or importing to the United States for retail sale

       or resale any products that infringe Plaintiff’s Trademarks;

              iv.     Committing any acts calculated to cause consumers to believe that

       Defendants’ counterfeit products are sold under the authority, control, or supervision of

       Plaintiff, or are sponsored by, approved of, or otherwise connected with Plaintiff, including

       without limitation through use of Plaintiff’s original photographs and marketing text in

       connection with the offer or sale of counterfeit products;

              v.      Further infringing Plaintiff’s Trademarks and damaging Plaintiff’s

       goodwill;




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              vi.     Otherwise competing unfairly with Plaintiff in any manner;

              vii.    Shipping (including drop-shipping), delivering, holding for sale,

       transferring, or otherwise moving, storing, distributing, returning, or otherwise disposing

       of, in any manner, products or inventory not manufactured by or for Plaintiff, nor

       authorized by Plaintiff to be sold or offered for sale, and which bear any Plaintiff’s

       Trademarks, or any reproductions, counterfeit copies, or colorable imitations thereof;

              viii.   Using, linking to, transferring, selling, exercising control over, or otherwise

       owning the Defendant Internet Stores, or any other domain name or online marketplace

       account that is being used to sell or is how Defendants could continue to sell counterfeit

       products;

              ix.     Operating and/or hosting websites at the Defendant Internet Stores of any

       other domain names registered or operated by Defendants that are involved in the

       distribution, marketing, advertising, offering for sale, or sale of any product bearing the

       Plaintiff’s Trademarks or reproduction, counterfeit copy, or colorable imitation thereof that

       is not a genuine product or not authorized by Plaintiff to be sold in connection with the

       Plaintiff’s Trademarks; and,

              x.      Registering any additional domain names that use or incorporate any

       portion of the Plaintiff’s Trademarks; and,

       B.     That Defendants, their affiliates, officers, agents, employees, attorneys, and all

persons acting for, with, by through, under, or in active concert with them be temporarily,

preliminarily, and permanently enjoined and restrained from:

              i.      Displaying images protected by the Plaintiff’s Trademarks in connection

       with the distribution, advertising, offer for sale and/or sale of any product that is not a




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       genuine product of Plaintiff’s or is not authorized by Plaintiff to be sold in connection with

       the Plaintiff’s Trademarks; and

               ii.     Shipping, delivering, holding for same, distributing, returning, transferring,

       or otherwise moving, storing, or disposing of in any manner products or inventory not

       manufactured by or for Plaintiff, not authorized by Plaintiff to be sold or offered for sale,

       and protected by the Plaintiff’s Trademarks or any reproductions, counterfeit copies, or

       colorable imitation thereof; and,

       C.      That Defendants, within fourteen (14) days after service of judgment with notice of

entry thereof upon them, be required to file with the Court and serve upon Plaintiff a written report

under oath setting forth in detail the manner and form in which Defendants have complied with

any and all injunctive relief ordered by this Court;

       D.      Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants

and those with notice of the injunction, including any online marketplaces such as: Alibaba,

AliExpress, Amazon, Bonanza, CJ Dropshipping, DHgate, eBay, Fruugo, Joybuy, Shein, Shopify,

Walmart, and Wish; payment processors such as: Alibaba Group Holding Limited, AUS Merchant

Services, Inc., and Alipay US, Inc. (“Alipay”); LianLian Global, LL Pay U.S., LLC, and Lianlian

Yintong Electronic Payment Co. Ltd. (“LianLian”), Payoneer Global Inc. (“Payoneer”), PayPal

Holdings, Inc. (“PayPal”), and Stripe Inc. (“Stripe”); social media platforms such as: Facebook,

Instagram, Snapchat, TikTok, YouTube, LinkedIn, X (formerly Twitter); Internet search engines

such as: Google, Bing, and Yahoo; webhosts for the Defendants Domain Names; and domain name

registrars, that are provided with notice of the injunction, cease facilitating access to any or all

webstores through which Defendants engage in the sale of counterfeit products using the Plaintiff’s

Trademarks; shall:




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               i.      Disable and cease providing services for any accounts through which

       Defendants engage in the sale of counterfeit Plaintiff’s              branded product using

       Plaintiff’s Trademarks, including any accounts associated with the Defendants listed on

       Schedule A;

               ii.     Disable and cease displaying any advertisements used by or associated with

       Defendants in connection with the sale of counterfeiting and infringing counterfeit product

       using Plaintiff’s Trademarks; and,

               iii.    Take all steps necessary to prevent links to the Defendant Online Stores

       identified in Schedule A from displaying in search results, including, but not limited to,

       removing links to the Defendant Online stores from any search index; and,

       E.      That each Defendant account for and pay to Plaintiff all profits realized by

Defendants by reason of Defendants’ unlawful acts herein alleged, and that the amount of damages

for infringement of Plaintiff’s Trademarks be increased by a sum not exceeding three times the

amount thereof as provided by 15 U.S.C. § 1117;

       F.      For Judgment in favor of Plaintiff against Defendants that they have: (a) willfully

infringed Plaintiff’s Trademarks in its federally registered trademarks pursuant to 15 U.S.C. §

1114; and (b) otherwise injured the business reputation and business of Plaintiff by Defendants’

acts and conduct set forth in this Complaint;

       G.      For Judgment in favor of Plaintiff against Defendants for actual damages or

statutory damages pursuant to 15 U.S.C. § 1117, at the election of Plaintiffs, in an amount to be

determined at trial;

       H.      In the alternative, that Plaintiff be awarded statutory damages pursuant to 15 U.S.C.

§ 1117(c)(2) of $2,000,000 for each and every use of Plaintiff’s Trademarks;




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       I.      That Defendants, their affiliates, officers, agents, employees, attorneys, and all

persons acting for, with, by, through, under, or in active concert with them be temporarily,

preliminarily, and permanently enjoined and restrained from:

               i.      using the                 Works or any reproductions, copies, or colorable

       imitations thereof in any manner with the distribution, marketing, advertising, offering for

       sale, or sale of any product that is not an authorized                     Products or is not

       authorized by Plaintiff to be sold in connection with the                 Works;

               ii.     passing off, inducing, or enabling others to sell or pass off any product or

       not produced under the authorization, control, or supervision of Plaintiff and approved by

       Plaintiff for sale under the               Works;

               iii.    further infringing the                    Works and damaging Plaintiff’s

       goodwill;

               iv.     shipping, delivering, holding for sale, transferring, or otherwise moving,

       storing, distributing, returning, or otherwise disposing of, in any manner, products or

       inventory not authorized by Plaintiff to be sold or offered for sale, and which directly use

       the                Works and which are derived from Plaintiff’s copyrights in the

             Works; and

              v.       using, linking to, transferring, selling, exercising control over, or otherwise

       owning the Defendant Internet Stores, or any other online marketplace account that is being

       used to sell products or inventory not authorized by Plaintiff which are derived from

       Plaintiff’s copyrights in the               Works;

       J.     Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants

and those with notice of the injunction, including any online marketplaces such as: Alibaba,




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AliExpress, Amazon, Bonanza, CJ Dropshipping, DHgate, eBay, Fruugo, Joybuy, Shein, Shopify,

Walmart, and Wish; payment processors such as: Alipay, LianLian, PayPal, Stripe, and Payoneer;

social media platforms such as: Facebook, Instagram, Snapchat, TikTok, YouTube, LinkedIn, and

X (formerly Twitter); Internet search engines such as Google, Bing, and Yahoo; webhosts for the

Defendants Domain Names; and domain name registrars, that are provided with notice of the

injunction, cease facilitating access to any or all webstores through which Defendants engage in

the sale of infringing products using the Plaintiff’s copyrights; shall:

               i.      disable and cease providing services for any accounts through which

       Defendants engage in the sale of products not authorized by Plaintiff which reproduce the

                      Works or are derived from the                   Works, including any accounts

       associated with the Defendants listed on Schedule A;

               ii.     disable and cease displaying any advertisements used by or associated with

       Defendants in connection with the sale of products not authorized by Plaintiff which are

       derived from the                  Works; and

               iii.    take all steps necessary to prevent links to the Defendant accounts identified

       on Schedule A from displaying in search results, including, but not limited to, removing

       links to the Defendant accounts from any search index;

       K.      For Judgment in favor of Plaintiff against Defendants that they have: (a) willfully

infringed Plaintiff’s rights in her federally registered copyrights pursuant to 17 U.S.C. §501; and

(b) otherwise injured the business reputation and business of Plaintiff by Defendants’ acts and

conduct set forth in this Complaint;




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       L.      For Judgment in favor of Plaintiff against Defendants for actual damages or

statutory damages pursuant to 17 U.S.C. §504, at the election of Plaintiff, in an amount to be

determined at trial;

       M.      That Plaintiff be awarded its reasonable attorneys’ fees and costs; and,

       N.      That Plaintiff be awarded any and all other relief that this Court deems equitable

and just.

       Plaintiff demands trial by jury as to all causes of action so triable.

 Dated: March 6, 2024                               Respectfully submitted,

                                                    /s/ James E. Judge

                                                    Zareefa B. Flener (IL Bar No. 6281397)
                                                    James E. Judge (IL Bar No. 6243206)
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